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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION

                                                 )
  ROGER A. HERNDON,                              )
                                                 )
         Plaintiff,                              )
                                                 )
  v.                                             )    Case No. 4:19-CV-00052-HCM-DEM
                                                 )
  HUNTINGTON INGALLS INDUSTRIES,                 )
  INC. AND THE HII ADMINISTRATIVE                )
  COMMITTEE,                                     )
                                                 )
         Defendants.                             )
                                                 )

                            MOTION TO EXCLUDE
           THE OPINIONS OF PLAINTIFF’S EXPERT, MITCHELL I. SEROTA

        Defendants Huntington Ingalls Industries, Inc. (“HII”) and the HII Administrative

 Committee (the “Committee”) (collectively, “Defendants”), by counsel and pursuant to Federal

 Rule of Evidence 702, hereby move the Court to exclude the opinions of Plaintiff’s Expert Mitchell

 I. Serota (“Serota”). In support of this Motion, Defendants refer this Court to their Memorandum

 in Support, filed contemporaneously herewith.

        WHEREFORE, for the reasons stated in the accompanying Memorandum in Support of

 this Motion to Exclude the Opinions of Plaintiff’s Expert Mitchell I. Serota, Defendants

 respectfully request that the Court grant their Motion, exclude the testimony of Serota, and grant

 any other relief this Court deems just and proper.
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 February 28, 2020            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on this 28th day of February, 2020, a true and correct copy of the foregoing

 was served on all counsel of record via Notice of Electronic Filing by filing with the Court’s

 CM/ECF system, and on the following counsel via email:

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